
76 So.3d 435 (2011)
STATE of Louisiana in the Interest of A.D.
No. 2011-CK-1197.
Supreme Court of Louisiana.
November 23, 2011.
Writ granted. A defendant has no right to an unredacted police report containing witnesses' identifying information unless he demonstrates a "distinctive reason why fundamental fairness dictates discovery of the names of these witnesses." State v. Weathersby, 09-2407 (La.3/12/10), 29 So.3d 499,501. No such showing has been made in the present case. In light of the State's provision of this witness list and the State's light redaction of the police narrative, and in the absence of any peculiar circumstances requiring disclosure, we find that there is no basis to order the provision of the unredacted document or to conduct an in camera hearing. The judgments of the lower courts are reversed, vacated, and set aside, and the matter is remanded to the juvenile court for further proceedings.
